      Case: 1:19-cv-05980 Document #: 50 Filed: 08/27/20 Page 1 of 3 PageID #:130




                           UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION
__________________________________________
                                            )
MERLIN FRANCHISOR SPV, LLC,                 )
                                            )
                      Plaintiff,            )
                                            )
      v.                                    )     Case No.: 1:19-cv-05980
                                            )
BTW Auto, Inc., et al.,                     )
                                            )
                      Defendants.           )
__________________________________________)

                                  JOINT STATUS REPORT

        Plaintiff Merlin Franchisor SPV, LLC (“Merlin”) and Defendants BTW Auto, Inc.

and Thomas A. Walaszek (“BTW”) hereby submit this Joint Status Report pursuant to the

Court’s Minute Entry dated June 3, 2020 (Doc. 47).

I.      Discovery

        Merlin has served written discovery requests and BTW responded. Merlin intends to

engage BTW in certain discussions regarding the completeness of BTW’s responses.

        Merlin had also served third-party subpoenas in February and March of 2020, and

received some documents in response. Those documents were provided to BTW.

        Merlin plans to issue notices of deposition or subpoenas as appropriate to depose three to

six witnesses, including BTW, Walaszek and third parties on mutually available dates.

II.     Settlement Discussions

        BTW made a settlement offer in writing on May 28, 2020. No settlement discussions

have occurred since that time. Merlin is currently in the process of obtaining more information

through discovery, which may inform future settlement negotiations.
    Case: 1:19-cv-05980 Document #: 50 Filed: 08/27/20 Page 2 of 3 PageID #:131




Dated: August 27, 2020           Respectfully submitted jointly,

MERLIN FRANCHISOR SPV, LLC                       BTW AUTO, INC. and THOMAS A.
                                                 WALASZEK
By: /s/ Maisa Jean Frank
One of Its Attorneys                             By: /s/ with consent Elizabeth R. Bacon Ehlers
                                                     One of its Attorneys
Stephen J. Vaughan (admitted pro hac vice)
Maisa Jean Frank (admitted pro hac vice)         Elizabeth R. Bacon Ehlers (#6201117)
LATHROP GPM LLP                                  Brooks, Tarulis & Tibble, LLC
The Watergate                                    1733 Park Street
600 New Hampshire Avenue, N.W. – Suite 700       Suite 100
Washington, D.C. 20037                           Naperville, IL 60562
Telephone:    (202) 295-2200                     (630) 355-2101
Facsimile:    (202) 295-2250                     ebacon@NapervilleLaw.com
stephen.vaughan@lathropgpm.com
maisa.frank@lathropgpm.com

Athanasios Papadopoulos (#6278188)
Bryan E. Minier (#6275534)
LATHROP GPM LLP
155 N. Wacker Drive, #3000
Chicago, IL 60606
Telephone:    312.920.3355
Facsimile:    312.920.3301
tpapadopoulos@lathropgpm.com
bminier@lathropgpm.com




                                             2
    Case: 1:19-cv-05980 Document #: 50 Filed: 08/27/20 Page 3 of 3 PageID #:132




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 27, 2020, I electronically filed the foregoing document
with the Clerk of Court using the ECF system, which will send notification of such filing to all
counsel of record.

                                              /s/ Maisa Jean Frank




                                                3
